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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 19-8035-GW-SSx                                              Date     February 10, 2020
 Title             Richard Nakai v. Charter Communications, Inc.




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                          Terri A. Hourigan
                 Deputy Clerk                        Court Reporter / Recorder                     Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                Patrick H. Paluso, by telephone                              Kristapor Vartanian
 PROCEEDINGS:                SCHEDULING CONFERENCE


Court and counsel discuss scheduling. For reasons stated on the record, the scheduling conference is
continued to March 5, 2020 ast 8:30 a.m.




                                                                                                    :     04
                                                               Initials of Preparer   JG
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